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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                     Hon.    Dennis M.      Cavanaugh

              V.

                                              Crim.    No.    07-900
 TERRY BATTLE, a/k/a “Tariq,”
 and
 JOSE N. OROZCO, a/k/a “Manny”


                                     ORDER

       This matter having come before the Court on defendant Jose

N.   Orozco’s   “Rule 36 Motion to Resurrect The Omission of

Defendant’s Deportation Status”;           and the United States         (Assistant

U.S.   Attorney Harvey Bartle,      appearing)       having opposed that

motion;    and the Court having reviewed the parties’                submissions;

and for good cause shown,

        IT IS on this         Oday of       41          ,    2012,

       ORDERED that defendant Jose N.        Or zco’s        “Rule 36 Motion to

Resurrect The Omission of Defendant’s Deportation Status”                   is

DENIED.




                                             nited States District Judge
